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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE: TESTOSTERONE REPLACEMENT                             Case No. 1:14-cv-1748
THERAPY PRODUCTS LIABILITY
LITIGATION                                                  MDL No. 2545

                                                             Hon. Matthew F. Kennelly
THIS DOCUMENT RELATES TO:

Herman Arbuthnot and Ethel Arbuthnot v. Endo
Pharmaceuticals, Inc.,

Case No. 1:16-cv-11205

                        Stipulation Dismissing Endo Pharmaceuticals, Inc.

       IT IS HEREBY STIPULATED AND AGREED by the parties, through their respective

counsel indicated below who all consent to the filing of this stipulation, that pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii) that Plaintiffs Herman Arbuthnot and Ethel Arbuthnot

(“Plaintiffs”) hereby dismiss all claims against defendant Endo Pharmaceuticals, Inc. with

prejudice, with each party to bear its own costs and attorneys’ fees.

Dated: September 24, 2018                          Respectfully submitted,



/s/ Michael D. Bell                                 /s/ Andrew K. Solow
Michael D. Bell                                    Andrew K. Solow
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Counsel for Plaintiff                              Pharmaceuticals, Inc.
      Case: 1:16-cv-11205 Document #: 8 Filed: 09/24/18 Page 2 of 2 PageID #:17



                                  CERTIFICATE OF SERVICE

       I, Andrew K. Solow, hereby certify that on September 24, 2018, the foregoing filing was

filed via the Court’s CM/ECF system, which will automatically serve and send notification of

such filing to all registered attorneys of record.



Dated: September 24, 2018                                /s/ Andrew K. Solow
                                                         Andrew K. Solow




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